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   12 April2020

  The HonorableJonathon Goodman
                                                                            FILED BY                  D
  M agistrateJudge US DistrictCourtfortheSouthern Distrid ofFl                                        .   C,
  J                                                          orida
   am esLawrence King FederalJustice Building
  99 NE Fourth Street Room 1168                                                  AFq 1? 2220
  M iam i,Florida 33132                                                           ANGELA E.NOBLE
                                                                                 CLER
                                                                                     K u.S Dlsm c'r
                                                                                 s.D.oFFLA - MIAMi
  RE:Case Num ber17-20158-ClV-M ARTINEZ- GOO DM AN
  CriminalCase Number:12-10496.CR-M ARTINEZ

  THO M AS P KEELAN 98219004

  DearHonorable JudgeGoodman

  M y nam e is RobertBrock, IwasJuniorand SeniorEnglish teacherandtheCollegeCounselorat
  the Comm unitySchoolinSun Valley, Idahofor29years.Iam 73
  ago,yetIstillkeepincontactwith theyoungpeople in ourvalley  , havi
                                                                   ng retired
                                                                andw ith myfSeven years
  colleague. Iwasthe English departmentchairman duringTom 'stime               orm erteaching
  W                                                                 atthe Com m unitySchool
    ewere asm allschool,with around thirtyin agraduatingclass. Tom'sclassroom wasright
  nextto mine,so lheard prad icallyeveryword em anatingfrom Tom 'scl
  hegotexcited                                                        asses,especiall y when
                , whi
                    ch was often.Tom was thejuni orEngli
                                                       s h t
                                                           eacher for both of  my  son
 w asthe chess m entorf                                                               s.He
                        orm yyoungerson.He wasthe directofofM idsum merNight'sDream
 which Iplayedthepartofa                                                                    ,in
                             mem berofthe W all.Overtheyears, lhad countlesshoursof
 conversation withTom - aboutcolleges, aboutstudents,abouthisupbringing
 prosped                                                                    , abouthi  sson's
          sasa hockeygoalie,abouthismarriage, aboutthe EthicsandValuesc      oursethatTom
 taughtwhen hefirstcam eto theschool, aboutunderdogs.Especially aboutunderdogs
                                                                                     .
 Needlessto say,Ihave com eto know Tom welland have conti
                                                            nuedto bein sporadiccontact
 with him .

Tom Keelan w as both principled and passionate.
th                                              Onoccasion,hespokeaboutbeingabusedW
   eCatholicchurch butIdon'trem embermany ofthedetails.
                                                             Irem emberhim assomeone
who felthehad beengiven araw deal, assomeonewho had to battle forresped
who recognizedw henthe playing fieldwasnotlevel                               , someone
f                                                  , and who would throw him selfonto the
 ield in orderto levelit. Once,the head ofourschoolgaveTom afew booksto read
gavethe head ofth                                                                , so Tom
obligati            eschooltwo ofhisbooksto read;he didn'twantto be saddled withan
        on.Resped and equality w ere im portantto him .

Tom sethigh standardsin hisclassroom . Asateacher,Iwouldtryto slip in some contemporary
worksto pairwiththe ''classics''and makethem m ore palatabl
It                                                          e.NotTom :
  w as Shakespeare and Donne and Keats. He believed that hisstudents w ere capable ofm ore
than theybelieved possible and refusedto letthem settle fo
                                                          rmediocrity.
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   IjustplacedEasterSunday(subdued, thisyear)callstomysons
   asan ani                                                    . They both remem bered Tom
           m ated ''defenderofthe nerds. ''Leaderofthechessclub andthe theater
   would nottolerate any sign ofdi                                              crowd.Tom
                                 srespectto thequieter,f'm eeker''studentsand wasfearl
   aboutattacking apresumptuousdisplay ofpowe                                          ess
                                                 rorprivilege.
  Tom'ssonTristan wasaprom ising hockeygoali
  (skiers,boarders,skaters                     e.0urvalleyisfilledwithwintersportsathletes
                          , hockey pl
                                    ayers)
                                         , Tri
                                             stan  included, buthe could notfindthe Ievelof
  co
    m petition thatwould bring outthe bestin him . Tom found  a schoolin lndianathatwould
  m eetTristan'sacademicand athleticaspirationsand so offth
  crowdthrowing a bi                                          eywent.Ifem em berthe theater
  sm                 gfarewellpartyforhim . Tom'sstrongeststudental    lies(typicallythe
     arteststudentsintheschool)wereconvincedthathispassionandliberatingquirkiness,his
  fire, andhishigh standardscould notbe replaced
                                                  .   Theywere fight.
  lhave been in phone contactwith Tom afew tim e
  and                                              sayearsince he Ieftthe Com munitySchool
      am aware ofhisstory,ashetellsit. Itruly believe thathe wasearnestl y and honestlyt
 to help astudentin trouble- thedeeperthepain                                            rying
                                                  ,the m ore Tom would tryto ease and healit-
 butIalso recognize, asafellow teacher thatthere isa linethatwe should notcross
                                       ,
 ached forTom - both forwhatIimagine     isa kind ofhum iliation                  . lhave

 lossofafi                                                       andforwhatgrievesme asthe
           ne intellect,teacher, and-asIhavesaid- tdefenderofthevulnerable
                                                                                  .


  lwrite to Tom afew tim esayearinprison and spoke to him on the
  abouthow hethinkshehasbeen m isunderstood and how theprocphone.Hewasanim ated
  theTruth.Ihaveto confessthateven ifIwantto believe                essofhistrialdid notreveal
                                                          bim'lCan'tfollow the Iegaldetails. M y
  own need isto uearthatue uasfound some kind ofpe
                                                       ace
 Traise birdsorcounselotuerinmatesor,nd rejigion.
                                                      But,d
    om hashadtofightto defend #,imseIf- both physicallyand
                                                          'Ji
                                                            kethoseguysinthemovi
                                                                               eswuo
                                                             n-tbavea clueabouthow m uc.

 t
 fifhtforhisdignityand limagine he hashad tofi
                                                  ghtforhisriglool
                                                                 ioxdllv'Meb3S2lWaY5hadto
   alking physicalsguting...limaginel,e isIike awounded catwhots'''d bisverybeing. l'm not
                                                                 :asto uissin orderto survive.
Iam worried abouthisstate ofhealth, particularlyifthe coronavirusinvadesaconfinedspac
Iike a prison.Tom ism orethe guywho woudd read P                                         e
fri                                                 roustandtryto clarify hiscasetothosefew
   endsw ho have stuck w ith him than the guy w ho
                                                   would do hundredsofpush-upsinhiscell.
Afteryearsin prison, heprobably neverwould wantto show hisback
                                                                   .


  1earnestly hope thatTom can be releasedfrom priso
                                                      n andserve the restofhistim einthe self
 isolation thatm uch ofthe nation isserving now .                                            -

hi                                                Theonly harm he iscapable ofcausing isto
    mself.HewillseekIove, asIhope he would, andfind the love he deserves
predatorand isno d                                                         , buthe i
                                                                                   sno
                       anger
w as a respected teacher     to anyone.This man was not a thi
                                                            efor a m urderer ordrug dealer;he
o                         , beloved bym any, whotwistedhimsel  f(orwastwisted)into
   verreaching in tryingtoshow love. Yes,sure;''shouldn'thave gone there''butthere is
timeforhim tofind awayto                                                              still
                                sharethe decencythatispartofhim .
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   lhave been very candid, sir,in my letterbut-Iikeso m anyof
  wearied bythe economic                                        us- lhave already become
                            , soci
                                 al,and psychologicaltollthatthe C
  wroughtupon us. IthinkthatTom Keelan hassusered                   ovid-lg pandemichas
  stillserving histim e, hem ay be abletotranslatethats  enough  in the prison and outam ong us
  tbatcan actually help othersandb                      uffering i
                                                                 nt o akind ofpainedwisdom ,
                                     ring him to anew placein theawa
  hisjourney.                                                        renessofthemeaningof
  ThankyouforIistening. lfeelbetterforhavingwritten
                                                      .


  Happy Easter,

 Respectfully


 RobertBrock
 421 Deerwood Dr
 Hailey ID 83333


 Cc:The HonorableJose EM artinez
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